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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

Case Number: 8:18-cr-99-T-17JSS

Vv.
USM Number: 70203-018

FREDRICK JAMES BURNEY, JR. . .
Timothy J. Fitzgerald, CJA

 

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One, Eight, Nine, Fourteen, & Fifteen of the Third Superseding Indictment. The
defendant is adjudicated guilty of the following offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)

18 U.S.C. § 1951(a) Conspiracy to Commit Hobbs Act Robbery July 20, 2017 One
18 U.S.C. §§ 1951(a)-(b) and 2 Hobbs Act Robbery June 11, 2016 Eight
18 U.S.C. §§ 924(c)(1)(A)(ii), Discharging a Firearm During a Crime of Violence June 11, 2016 Nine
924(c)(1)(C), and 2
18 U.S.C. §§ 1951 (a)-(b) and 2 Hobbs Act Robbery May 11, 2017 Fourteen
18 U.S.C. §§ 924(c)(1)(A)(ti), Discharging a Firearm During a Crime of Violence May 11, 2017 Fifteen

924(c)(1)(C), and 2

Counts Two, Three, Four, Five, Six, Seven, Ten, Eleven, Twelve, & Thirteen of the Third Superseding Indictment are
dismissed in accordance with the plea agreement. The underlying Indictment and Second Superseding Indictment are
dismissed on government's motion.

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change
in the defendant's economic circumstances.

Date of Imposition of Judgment:

April 12, 2019

 
  
 

   
    

  

 

 

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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of THREE HUNDRED and SIXTY (360) MONTHS as to the Third Superseding Indictment. This term consists of ONE
HUNDRED and TWENTY (120) Months as to each of Counts One, Eight, & Fourteen, to run concurrently; a term of ONE
HUNDRED and TWENTY (120) Months as to Count Nine, consecutive to Counts One, Eight, & Fourteen; and a term of
ONE HUNDRED and TWENTY (120) Months as to Count Fifteen, to run consecutive to Count Nine. Defendant shall
receive credit for time served as calculated by the United States Bureau of Prisons.

The Court makes the following recommendations to the Bureau of Prisons:

1% Choice of Incarceration: Coleman, Florida

2"¢ Choice of Incarceration: Jesup, Georgia

Unicor to send support for minor children.

500 hour RDAP substance abuse program for drugs and alcohol abuse.

Medical exam for pre-existing surgical scars and bullet wounds on chest, side, and back.

All necessary elementary and secondary education; procure GED.

Vocational education in restaurants including business administration, culinary skills, and computers related

to trade and business.

e Counseling on self-image, better selection of associates, and interpersonal relationships including
parenting.

The defendant is remanded to the custody of the United States Marshal to await designation by the Bureau of
Prisons.

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at . with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of total term of FIVE (5) YEARS as
to the Third Superseding Indictment. This term consists of THREE (3) years as to each of Counts One, Eight, & Fourteen,
and FIVE (5) years as to each of Counts Nine & Fifteen, all such terms to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
4. You must cooperate in the collection of DNA as directed by the probation officer.

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The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
office or within a different time frame. After initially reporting to the probation office, the defendant will receive
instructions from the court or the probation officer about how and when the defendant must report to the probation
officer, and the defendant must report to the probation officer as instructed.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer

excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation

officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

 

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

e The defendant shall submit to a search of your person, residence, place of business, any storage units under the
defendant's control, or vehicle, conducted by the United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to a search may be grounds for revocation. You shall inform any other residents that
the premises may be subject to a search pursuant to this condition.

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

Assessment JVTA Assessment‘ Fine Restitution
TOTALS $500.00 N/A Waived N/A
SCHEDULE OF PAYMENTS

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine

principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of
prosecution and court costs.

 

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

” Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

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